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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                  10/19/2020

 Gary Thomas,

                       Movant,
                                                                             19-CV-9756 (AJN)
                –v–
                                                                            13-CR-0360-2 (AJN)
 United States of America,
                                                                                  ORDER
                       Respondent.



ALISON J. NATHAN, District Judge:

       The Court has previously ruled that Mr. Thomas is not entitled to additional discovery in
this posture, and so Mr. Thomas’ request for discovery (Dkt. No. 48) is DENIED insofar as it
seeks production of documents not previously produced. However, it appears that Mr. Thomas
still has not had an adequate opportunity to view some documents that the Government
previously provided in electronic form in connection with his § 2255 motion. The Government
is therefore ordered to produce to Mr. Thomas, in hard copy, those documents identified in
Egbert Thomas’ August 23, 2020 letter, Dkt. No. 45, and the Government’s September 11, 2020
letter, Dkt. No. 46, that were inaccessible to Mr. Thomas in electronic form because they were
password-protected or required the use of proprietary software. The Government shall notify the
Court by letter once it has produced those documents to Mr. Thomas, and any supplemental
reply by Mr. Thomas shall be due 14 days thereafter. The Clerk of Court is respectfully directed
to mail a copy of this Order to Mr. Thomas and note the mailing on the public docket.

       SO ORDERED.


Dated: October 16, 2020                   __________________________________
       New York, New York                          ALISON J. NATHAN
                                                 United States District Judge



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